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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF RHODE ISLAND
 ________________________________________
                                          )
 UMB BANK, N.A., as Trustee,              )
                                          )
           Plaintiff,                     )
                                          )
      v.                                  )    C.A. No. 19-182 WES
                                          )
 CITY OF CENTRAL FALLS; JAMES A. DIOSSA, )
 MAYOR OF THE CITY OF CENTRAL FALLS;      )
 MARIA RIVERA, CITY COUNCILOR; JONATHAN )
 ACOSTA, CITY COUNCILOR; HUGO FIGUEROA, )
 CITY COUNCILOR; FRANKLIN SOLANO, CITY    )
 COUNCILOR; JESSICA VEGA, CITY COUNCILOR,)
 CENTRAL FALLS DETENTION FACILITY         )
 CORPORATION; WILDER ARBOLEDA,            )
 CORPORATION DIRECTOR; GARY BERDUGO,      )
 CORPORATION DIRECTOR; JOSEPH MOLINA      )
 FLYNN, CORPORATION DIRECTOR; and         )
 HERMAN YIP, CORPORATION DIRECTOR,        )
                                          )
                Defendants.               )
 ________________________________________)

                     ORDER APPOINTING SPECIAL MASTER

       WHEREAS,    UMB   Bank,   N.A.,   (the   “Trustee”),   as   indenture

 trustee, the Central Falls Detention Facility Corporation (the

 “Corporation”), the City of Central Falls (the “City”), Mayor James

 A. Diossa (the “Mayor”), City Councilors Maria Rivera, Jonathan

 Acosta,    Hugo   Figueroa,     Franklin   Solano,    and    Jessica   Vega

 (collectively, the “City Council”), and the Board of Directors for

 the Corporation, Wilder Arboleda, Gary Berdugo, Joseph Molina

 Flynn, and Herman Yip (collectively, the “Board of Directors”),

 (collectively, the “Parties”), have consented to the appointment

 of a Special Master to effectively and promptly respond to disputes
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 brought to the attention of the Special Master (each, a “Dispute”

 and, collectively, the “Disputes”), arising out of any activity or

 vote of the Board of Directors that may impair and/or negatively

 impact the assets of the Corporation, the security of the Bonds

 and/or the revenue stream of the Corporation (each, an “Impacting

 Activity”),

 IT IS ORDERED THAT:

    I.    Appointment and No Grounds for Disqualification

             1. Deming Sherman is hereby appointed to serve as Special

                Master in this matter pursuant to Fed. R. Civ. P.

                53(a).

             2. The   Special     Master’s    appointment     will     become

                effective upon his filing an affidavit disclosing that

                there is no ground for disqualification under 28

                U.S.C. § 455 pursuant to Fed. R. Civ. P. 53(a)(2) and

                (b)(3) and shall continue until July 24, 2019, (the

                “Termination Date”).        If there are no grounds for

                disqualification       or     if     all     grounds      for

                disqualification have been waived pursuant to Fed. R.

                Civ. P. 53(a)(2), the Special Master is directed to

                proceed with all reasonable diligence to complete the

                duties assigned by this Order.

             3. During the course of this matter, the Special Master

                and the Parties shall notify this Court immediately

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                if they become aware of any potential grounds that

                would require disqualification.

 II.   Accountability to the Court

             4. The Special Master will be accountable only to the

                Court and will not be supervised by Plaintiff or

                Defendants.    The Special Master will be independent

                from Plaintiff and Defendants.          In the course of his

                work, the Special Master may consult with the Trustee,

                counsel to the Trustee, Defendants or any of them,

                their   agents,     counsel,   or      employees,    Mr.   Peter

                Argeropulos    (the    Board    Monitor     appointed      in    a

                companion order of same date), and any other person

                the Special Master deems necessary to perform the

                scope of his duties.

 III. Limited Scope and Duties of Special Master

             5. The purpose of the Special Master is limited. Until

                the Termination Date, the Trustee, the Board Monitor,

                the Corporation and/or the Board of Directors may each

                request the Special Master’s assistance with regard

                to any Dispute.

             6. To the extent the Board Monitor, Board of Directors,

                Corporation    or   Trustee    seeks    assistance    from      the

                Special Master to address any Dispute, the Special

                Master is authorized by this Court without need for

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                further order to (a) mediate any Dispute between such

                parties relating to Impacting Activities, (b) report

                to     this   Court    an       impasse       between       such   parties

                regarding     any     Dispute,      and       (c)    have     independent

                standing to make a report and recommendation to this

                Court     with      respect       to        Disputes.          Privileged

                information        presented           to     the     Special      Master

                (including in mediation of Disputes) shall remain

                privileged and confidential, and shall be disclosed

                to the Court only upon consent of counsel.

             7. During the pendency of the Special Master’s review,

                which includes the time of any Court intervention,

                any proposed Impacting Activity shall be stayed and

                not implemented by the Board of Directors and/or

                Corporation;        provided,      however,          that     should   the

                Warden determine in his sole and absolute discretion

                that such Impacting Activity would negatively impact

                the immediate life safety or security at the Wyatt or

                its training facility located at 935 High Street in

                Central Falls, Rhode Island, that the Warden shall be

                authorized to take actions he deems necessary to

                protect such interests and thereafter he shall report

                such     actions      to    the    Special          Master,    Board    of

                Directors, Board Monitor, and Trustee for further

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                review and, if necessary, Court review.

             8. The Special Master shall prepare and file a status

                report within 60 days following notice of a Dispute,

                or bi-annually thereafter until discharged.

 IV.   Authority and Term

       A. Authority

             9. Pursuant to Fed. R. Civ. P. 53(c), the Special Master

                may:

                  i. Request documents be produced from a Party to

                       the extent the Special Master deems it necessary

                       to perform the scope of his duties.                The Parties

                       reserve the right to object to the production of

                       documents          and/or         electronically             stored

                       information        (“ESI”)    on     privilege          or    other

                       grounds articulated under Fed. R. Civ. P. 26 and

                       34.     Objections        shall    be     considered         by   the

                       Special Master and ruled upon.                    Any order on

                       discovery shall be appealable to the District

                       Court   Judge      in    accord    with    Fed.    R.    Civ.      P.

                       53(f)(2).       Any      documents      produced        shall      be

                       produced only to the Special Master.

                ii. Communicate ex parte with the Court or any Party

                       at    any   time     pursuant      to     Fed.    R.     Civ.      P.

                       53(b)(2)(B).            Generally,      the   Special        Master

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                     shall not communicate ex parte with any Party

                     without      first    providing       notice      to   the    other

                     Parties.

               iii. Any Party wishing to respond to or object to any

                     Special       Master        report,        statement         and/or

                     recommendation           must   file       such    response     or

                     objection with the Court within 14 days from the

                     day    the    Special       Master     files       the      report,

                     statement and/or recommendation via ECF.                       Any

                     opposition shall be filed within 7 days after

                     the objection on the motion is filed.

                iv. Pursuant to Fed. R. Civ. P. 53(f)(1), in acting

                     on a report or recommendation of the Special

                     Master, the Court shall afford the Parties an

                     opportunity to present their positions and may

                     adopt or affirm; modify; wholly or partly reject;

                     resubmit       to        the       Special        Master      with

                     instructions;         or    make     any     order     it    deems

                     appropriate.         The standards of review contained

                     in Fed. R. Civ. P. 53(f)(3)-(5) shall apply.

                  v. To the extent the Special Master determines that

                     he    requires   the       services    of    clerical        staff,

                     consultants, and experts to assist him in his

                     work, the Special Master shall inform the Parties

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                      of the following:

                   (1) The identity of the person who will provide

                       such services;

                   (2) The nature of the services; and

                   (3) The anticipated costs.

                          (a)   Any Party shall have 10 business days to

                                object to the retention of any such

                                services. If neither side objects, the

                                Special Master may retain the services in

                                question.

                          (b)   If a Party objects and the objection

                                cannot be resolved by the Special Master,

                                the objecting Party may present its

                                objection to the Court no later than 10

                                days after the Special Master has made a

                                final decision on the retention of

                                services.

       B. Term

             10.    The Special Master’s Term of service will end at

                    the earlier of (a) the Termination Date or (b)

                    when the Court terminates the appointment.

 V.    Compensation

             11.    The costs of the Special Master shall be borne by

                    the   Corporation       and   paid   from   the   operating

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                   revenues of the Corporation.                  The Special Master

                   shall maintain a record of his time serving as

                   Special Master that generally identifies the date

                   of service and a brief narrative description of the

                   services performed.

             12.   The Special Master shall be compensated at the rate

                   of $300/hour and shall not be permitted to charge

                   for travel time.

             13.   In addition to an initial assessment of the issues

                   relating to the above-captioned litigation, to the

                   extent the Special Master receives notice of a

                   Dispute and is engaged to address such Dipuste,

                   then   the    Special        Master    shall    provide      monthly

                   invoices to the Corporation (c/o the Warden), with

                   copies to the Board of Directors, Trustee, and

                   Board Monitor.           The invoices shall be paid in

                   full unless there is an objection.

 VI.    Amendments

             14.   Pursuant to Fed. R. Civ. P. 53(b)(4), this Order

                may be amended       at     any    time    after       notice   to   the

                Parties and an opportunity to be heard.

 VII. Rights

             15.   Nothing      in   this       Order    shall    be    construed     as

                   abrogating any of the Parties’ appellate rights.

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  William E. Smith
  Chief Judge
  Date: April 26, 2019




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